 Case 4:20-cv-00283-O Document 122 Filed 04/13/23               Page 1 of 1 PageID 2298



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT                         §
 INC. et al.,                                 §
                                              §
        Plaintiffs,                           §
                                              §
 v.                                           § Civil Action No. 4:20-cv-00283-O
                                              §
 XAVIER BECERRA et al.,                       §
                                              §
        Defendants.                           §

                                           ORDER

       Before the Court is Defendants’ Motion for Partial Stay of Judgment Pending Appeal (ECF

No. 121), filed April 12, 2023. To expedite consideration of the same before the Defendants’

requested date of Aril 20, 2023, the Court ORDERS Plaintiffs to respond no later than April 17,

2023 at 5:00 p.m. CST. Defendants may file their reply no later than April 18, 2023.

       SO ORDERED this 13th day of April, 2023.

                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
